Case 1:22-cv-20327-DPG Document 8 Entered on FLSD Docket 02/01/2022 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 FREEDOM FRESH, LLC,                                     Case No. 1:22cv20327

                              Plaintiff,

               - against -

 CRYSTAL CRUISES, LLC, FOOK YEW AU, KEVIN
 C. JONES, RICARDO JAVIER CELORIO, JESSICA S.
 HOPPE, and JACK DU WAYNE ANDERSON,

                              Defendants.



                              NOTICE TO STRIKE DOCUMENT

        The Plaintiff, Freedom Fresh, hereby files this Notice to Strike Memorandum of Law in
 Support [Doc No. 6] as the wrong document was inadvertently uploaded.
        Dated: February 1, 2022
                                            FURR COHEN
                                            Attorney for Plaintiff
                                            2255 Glades Road, Suite 419A
                                            Boca Raton, FL 33431
                                            Telephone: (561) 395-0500

                                            By:   /s/ Marc P. Barmat
                                                   MARC P. BARMAT
                                                   Florida Bar No. 22365
                                                   E-mail: mbarmat@furrcohen.com
                                                           rrivera@furrcohen.com
